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                       IN THE UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT

UNITED STATES                                 )
                                              )       CASE # 22-5459
v.                                            )
                                              )
RICARDO ALVARADO                              )       EASTERN DIST. TN
                                              )       Case # 3:20-CR-114


                            NOTICE OF ADVISING APPELLANT


       Counsel of record for Appellant, Ricardo Alvarado declares and gives notice to the Court

of Appeals that counsel has fully advised Appellant Ricardo Alvarado that counsel has filed a

Motion to Withdraw as attorney of record for Mr. Alvarado. Mr. Alvarado was advised in

writing that he has 14 days after receiving the written notice to file a response to Counsel’s

motion to withdraw if he so desires.

       A copy of the motion to withdraw has been sent to Mr. Alvarado along with a letter and a

copy of the court rules discussing Mr. Alvarado’s right to file a response to counsel’s Motion to

Withdraw. See Attachments consisting of all documents sent to Mr. Alvarado at his current

address of Irwin County Detention Center, 132 Cotton Drive, Ocilla, GA, 31774

       The notice and attachments were mailed on June 30, 2022.

                                              Respectfully submitted,

                                              /s A. Philip Lomonaco
                                              BPR# 011579
                                              Of Counsel to Att. Hoai Robinette
                                              800 South Gay Street, Suite 2031
                                              Knoxville, TN 27929
                                              (865) 521-7422
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                                     CIRTIFICATE OF SERVICE
        Counsel states that a copy of this document has been filed and served on all parties of
interest by the electronic court filing system this 30th day of June, 2022.

                                             /s A. Philip Lomonaco



                                             BPR# 011579
                                             Of Counsel to Att. Hoai Robinette
                                             800 South Gay Street, Suite 2031
                                             Knoxville, TN 27929
                                             (865) 521-7422
